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 7                              IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                         CASE NO. 1:15-CV-00954-DAD-EPG
10
                  Plaintiff,
11                                                     ORDER TO CONTINUE
           v.                                          MANDATORY SCHEDULING
12                                                     CONFERENCE FROM SEPTEMBER
     APPROXIMATELY $3,801,034.94 IN U.S.               9, 2020 TO FEBRUARY 10, 2021
13   CURRENCY SEIZED FROM CITIBANK
     ACCOUNT NUMBER 206054579 HELD IN
14   THE NAME OF ARTHUR AVE.                           (ECF No. 55)
     CONSULTING, INC., et al.,
15

16                Defendants.

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18         Pursuant to the stipulation of the parties (ECF No. 55), and good cause appearing, the

19 mandatory scheduling conference is continued from September 9, 2020, to February 10, 2021, at 10:00
20 a.m.

21
     IT IS SO ORDERED.
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23      Dated:   September 2, 2020                          /s/
                                                     UNITED STATES MAGISTRATE JUDGE
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                                                       1           Order to Continue Mandatory Scheduling
29                                                                 Conference from September 9, 2020 to February
                                                                   10, 2021
30
